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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




 ------------------------------------------------    :
 UNITED STATES OF AMERICA                            :
                                                     : CASE NO. 1:06CR565-16
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     :
 MYRON MILLER                                        : ORDER ACCEPTING PLEA AGREEMENT
                                                     : AND JUDGMENT AND NOTICE OF
                                      Defendant      : HEARING
 ------------------------------------------------    :


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Myron Miller which was referred to the Magistrate Judge with the

consent of the parties.

       On 6 December 2006, the government filed a two-count indictment against

Myron Miller for conspiracy to distribute cocaine base and cocaine in violation of 21

U.S.C. Section 846, and possession of cocaine base with intent to distribute in violation

of 21 U.S.C. Sections 841(a)(1) and (b)(1)(C), and 18 U.S.C. Section 2. On 21

December 2006, a hearing was held in which Myron Miller entered a plea of not guilty

before Magistrate Judge David S. Perelman. On 6 June 2007, Magistrate Judge Nancy

A. Vecchiarelli received Myron Miller’s plea of guilty and issued a Report and
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Recommendation (“R&R”) concerning whether the plea should be accepted and a

finding of guilty entered.

         Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

         On de novo review of the record, the Magistrate Judge's R&R is adopted.

Myron Miller is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

         Therefore, Myron Miller is adjudged guilty of the lesser offense set forth in Count

One of the Indictment, conspiracy to distribute cocaine base (crack), in violation of 21

U.S.C. Sections 846 and 841(b)(1)(C).

         Sentencing will be:

                       5 November 2007 at 9:00 a.m.

                       Courtroom 9-A
                       9th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


         IT IS SO ORDERED.



Dated:         24 October 2007                    /s/Lesley Wells
                                                  UNITED STATES DISTRICT JUDGE




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